                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK


  JESSICA DENSON, Individually and on
  Behalf of All Others Similarly Situated,

                       Plaintiffs,
         v.                                       No. 20 Civ. 4737 (PGG)

  DONALD J. TRUMP FOR PRESIDENT, INC.,

                        Defendant.



                  PLAINTIFFS’ MEMORANDUM OF LAW
      IN SUPPORT OF PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT


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                                       INTRODUCTION

       Through this lawsuit, lead plaintiff Jessica Denson seeks a declaratory judgment that a

form contract the Campaign of Donald J. Trump required its workers to sign during the 2016

presidential campaign is void and unenforceable and an injunction prohibiting its enforcement.

The contract ostensibly bars Ms. Denson and anyone who signed it from criticizing Mr. Trump—

the sitting President of the United States—forever. It also purports to bar signers from disclosing

any information that Mr. Trump unilaterally deems “private” forever.

       The contract was plainly conceived as tool to silence critics of the President, and it has

repeatedly been used to that end. The Trump Campaign regularly takes steps to enforce the

contract against former workers who criticize the President or his Campaign, including Ms.

Denson, from whom the Campaign sought $1,500,000.00 in damages because she filed a lawsuit

alleging sex discrimination by the Campaign, and later criticized the Campaign and the President

on social media. The Trump Campaign claims another former Campaign worker violated the

contract just by saying she would never vote for President Trump again.

       The contract, on its face, violates basic principles of New York contract law. More

importantly, the contract prohibits truthful political speech and expressions of negative opinions

about the President of the United States, who is currently running for re-election. This gag on

core political speech is anathema to the First Amendment and the New York State Constitution

and has no place in our democracy.

                                  FACTUAL BACKGROUND

A.     Ms. Denson’s Work for the Trump Campaign in 2016

       Defendant Donald J. Trump for President, Inc. (the “Campaign”), registered with the

Federal Election Commission as the Primary Campaign Committee for then-candidate Donald J.

Trump on June 29, 2015. SMF ¶ 5. A year later, on July 16, 2016, the Republican National
Convention voted to make Trump its party’s nominee for the office of President of the United

States. Id. ¶ 6. Shortly after the nomination, lead plaintiff Jessica Denson, a registered

Republican who supported Mitt Romney for President in 2012, applied to work for the

Campaign. Id. ¶ 7–8. On August 18, 2016, the Campaign hired Ms. Denson as a national phone

bank administrator. Id. ¶ 9.

       Before beginning her work, the Campaign required Ms. Denson to sign a pre-drafted

form contract containing expansive and perpetual nondisclosure and non-disparagement clauses.

Id. ¶ 10 & Denson Decl. Ex. A (hereinafter, “the Form NDA”). Ms. Denson was not alone—at

least two other Campaign employees, and likely dozens, if not hundreds, more, were required to

sign the same Form NDA. SMF ¶ 11.

B.     The Form NDA

       The central provisions of the Form NDA consist of a “nondisclosure” clause and a “non-

disparagement” clause. See Form NDA ¶¶ 1, 2. Those provisions, and certain defined terms they

contain, are described below, as are the Form NDA’s “remedies” and “resolution of disputes”

clauses. Id. ¶¶ 7–8.

       1. The nondisclosure clause.

       The nondisclosure clause provides that, “[d]uring the time of your service and at all times

thereafter,” a signer may not disclose any “Confidential Information,” or use such information in

any way detrimental to Mr. Trump, his family, or any of Mr. Trump’s or his family’s businesses.

Form NDA ¶ 1 (emphasis added).

       The Form NDA broadly defines “Confidential Information” as follows:

               “Confidential Information” means all information (whether or not
               embodied in any media) of a private, proprietary or confidential
               nature or that Mr. Trump insists remain private or confidential,
               including, but not limited to, any information with respect to the
               personal life, political affairs, and/or business affairs of Mr. Trump


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               or of any Family Member, including but not limited to, the assets,
               investments, revenue, expenses, taxes, financial statements, actual
               or prospective business ventures, contracts, alliances, affiliations,
               relationships, affiliated entities, bids, letters of intent, term sheets,
               decisions, strategies, techniques, methods, projections, forecasts,
               customers, clients, contacts, customer lists, contact lists, schedules,
               appointments, meetings, conversations, notes, and other
               communications of Mr. Trump, any Family Member, any Trump
               Company or any Family Member Company.

Id. ¶ 6(a). Without limitation or specificity, the contract then defines “Trump Company” to

encompass “any entity, partnership, trust or organization that, in whole or in part, was created by

or for the benefit of Mr. Trump or is controlled or owned by Mr. Trump,” and defines “Family

Member Company” as “any entity, partnership, trust or organization that, in whole or in part,

was created by or for the benefit of any Family Member or is controlled or owned by any Family

Member.” Id. ¶¶ 6(c), 6(f). “Family Member,” in turn, includes:

               any member of Mr. Trump’s family, including, but not limited to,
               Mr. Trump’s spouse, each of Mr. Trump’s children and
               grandchildren and their respective spouses, including but not limited
               to Donald J. Trump Jr., Eric F. Trump and Ivanka M. Trump,
               Tiffany Trump, and Barron Trump, and their respective spouses,
               children and grandchildren, if any, and Mr. Trump’s siblings and
               their respective spouses and children, if any.

Id. ¶ 6(b). The terms “Trump Company” and “Family Member Company” encompass over 500

individual companies, only approximately half of which use the “Trump” branded name and

none of which are specifically identified in the Form NDA. SMF ¶ 51.

       2. The non-disparagement clause.

       The non-disparagement clause provides that “[d]uring the term of [their] service and at

all times thereafter,” a signer may not “demean or disparage publicly the Company, Mr. Trump,

any Trump Company, any Family Member, or any Family Member Company or any asset any of

the foregoing own, or product or service any of the foregoing offer.” Form NDA ¶ 2.




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        3. Other relevant provisions.

        Two other provisions of the Form NDA are relevant here. The first is a “remedies”

clause, which specifies that “Mr. Trump and each Family Member, Trump Company and Family

Member Company is an intended third party beneficiary of this agreement” and “will be entitled

to enforce this agreement.” Form NDA ¶ 7(d). The second is a “resolution of disputes” clause,

which provides that the “laws of the State of New York” are to govern any disputes related to the

contract and that “any dispute arising under or relating to this agreement may, at the sole

discretion of each Trump Person, be submitted to binding arbitration.” Id. ¶ 8(a)–(b). The

contract defines “Trump Person” as “each of Mr. Trump, each Family Member, each Trump

Company (including but not limited to the Company) and each Family Member Company.” Id. ¶

6(g).

C.      The Trump Campaign’s Use and Enforcement of the Form NDA

        President Trump’s former attorney, Michael Cohen, testified to Congress that the intent

of the Form NDA is to “prevent people from coming forward with claims of wrongdoing,” and

to “basically try to keep people silent.” SMF ¶ 13. True to Mr. Cohen’s testimony, the Trump

Campaign has repeatedly threatened and initiated legal action to enforce its Form NDA against

former Campaign workers who criticized the President or the Campaign, including Ms. Denson.

        1.     Actions against other Campaign workers.

        Not counting Ms. Denson, the Trump Campaign has threatened to sue or actually

initiated proceedings against at least three former employees for alleged violations of the

nondisclosure and non-disparagement clauses in the Form NDA.

        In August 2018, former Campaign staffer and White House aide Omarosa Manigault

Newman published Unhinged: An Insider’s Account of the Trump White House. SMF ¶ 14. After

publication, the Campaign, with President Trump’s encouragement, initiated an arbitration


                                                 4
proceeding against Ms. Newman to enforce the Form NDA. Id. ¶ 15. In its arbitration demand,

the Campaign alleged that Ms. Newman violated the Form NDA’s non-disparagement clause

when a television interviewer asked Ms. Newman, “Would you vote for [Mr. Trump] again [for

President]?” and she responded, “God no, never. In a million years, never.” Id. ¶ 16(g). On July

1, 2020, in a related civil proceeding against Ms. Manigault Newman, her lawyers revealed that

the Trump Campaign “recently added nearly four hundred additional counts to [its] arbitration

action [seeking to enforce the Form NDA against her] and is keeping tabs on everything she says

and does.” Id. ¶ 18 (emphasis added).

       On January 29, 2019, a former Campaign staffer named Cliff Sims published Team of

Vipers, a book about his experiences in the Trump White House. Id. ¶ 19. That same day, the

Campaign’s then-Chief Operating Officer, Michael Glassner, publicly stated that the Campaign

intended to sue Mr. Sims for violating his NDA. Id. ¶ 20.

       In September 2019, the Campaign accused former staffer Alva Johnson of breaching her

NDA based on Ms. Johnson’s filing a lawsuit alleging that President Trump forcibly kissed her.

Id. ¶ 22. A lawyer for the Trump Campaign stated that it and President Trump were “weighing

their legal options against Ms. Johnson at this time, and have demanded that she reimburse them

for the attorneys’ fees and costs they incurred in her failed lawsuit.” Id. ¶ 23.

       The President has encouraged and taken credit for the Campaign’s efforts to enforce the

Form NDA. For example, on the day Cliff Sims published his book, the President tweeted:




                                                  5
Id. ¶ 21. A few months later, the President tweeted similarly about Ms. Newman and “others”:




Id. ¶ 17.

        2. Actions against Ms. Denson.

        On November 9, 2017, a year after the 2016 presidential election, Ms. Denson filed a pro

se lawsuit against the Trump Campaign in New York State Supreme Court, asserting claims of

sex discrimination, harassment, and slander. SMF ¶ 24. In response, the Campaign initiated an

arbitration proceeding on December 20, 2017, alleging that Ms. Denson violated the terms of the

Form NDA by publicly filing the allegations in her lawsuit (the “Campaign’s arbitration”). Id.

¶ 25. In demanding arbitration, the Campaign alleged that Ms. Denson:

               breached confidentiality and non-disparagement obligations
               contained in a written agreement she executed during her
               employment with claimant Donald J. Trump for President, Inc. She
               breached her obligations by publishing certain confidential
               information and disparaging statements in connection with a
               lawsuit she filed against claimant in New York Supreme Court.


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               Claimant is seeking compensatory damages, punitive damages, and
               all legal fees and costs incurred in connection with this arbitration.

Id. ¶ 26 (emphasis added). The Campaign demanded damages of $1,500,000. Id. ¶ 27.

       In conjunction with filing its arbitration demand, the Trump Campaign sought to compel

arbitration of Ms. Denson’s pending state-court claims, but the New York court ultimately ruled

that those claims were not covered by the Form NDA. See SMF ¶¶ 29–30. Ms. Denson’s claims

arising out of her employment are still pending in New York Supreme Court. Id. ¶ 31.

       While awaiting a ruling from state court, on March 26, 2018, Ms. Denson filed a pro se

lawsuit in this Court seeking a declaration that the Form NDA is void and unenforceable (the

“First Federal Action”). Id. ¶ 32. The Campaign responded by moving to compel arbitration of

the First Federal Action, and its motion was granted on August 30, 2018. Id. ¶¶ 33, 38.

       Meanwhile, the Campaign’s arbitration against Ms. Denson continued, even after the

state court rejected the Campaign’s effort to compel arbitration of her discrimination,

harassment, and slander claims. Id. ¶ 34. On July 23, 2018, the Campaign submitted an

application for an award to the arbitrator. Id. ¶ 35. There, the Campaign alleged that Ms. Denson

violated the nondisclosure and non-disparagement clauses by, among other things, filing the state

and federal lawsuits and posting critical statements on her Twitter account, including, “Camilo

Sandoval rewarded for his slander/sabotage of @DavidShulkin w/TEMP post over our #Vets

data/health records.[] 1 mo ago: Congress demands Sandoval’s removal. Still there. WHY

@POTUS @jaredkushner @AviBerkow?” Id. ¶¶ 36–37. Still pro se, Ms. Denson did not

actively participate in the Campaign’s arbitration, which she viewed as improper. Id. ¶ 34.

       On October 18, 2018, the arbitrator issued an award of $24,808.20 in favor of the Trump

Campaign, based on a finding that Ms. Denson “breached the [Form NDA] by disclosing

confidential information in the [First] Federal Action, and by making disparaging statements



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about Claimant and the [Form NDA] on the Internet on her GoFundMe page and on her Twitter

account.” Id. ¶ 39.1 Shortly thereafter, Ms. Denson retained counsel. Id. ¶ 40. Two months later,

on December 12, 2018, the arbitrator issued a final award in favor of the Campaign, increasing

the original award to include an additional $4,291.85 in attorneys’ fees for work on

Ms. Denson’s federal lawsuit, $20,286.27 in attorneys fees’ for the uncontested arbitration

proceeding, and $121.32 in costs, for a total award of $49,507.64 against Ms. Denson. Id. ¶ 41.

       The Campaign then moved to have the award confirmed by both the state court and this

Court. Id. ¶ 42. On July 8, 2019, the state court confirmed the arbitration award; two weeks

later, this Court held that the state court’s affirmance mooted the Campaign’s motion to affirm

the award and precluded any further consideration of the issues by this Court. Id. ¶¶ 43–44.

       On February 6, 2020, the Appellate Division, First Department unanimously reversed the

state court decision confirming the arbitration award, and vacated the award in its entirety on the

grounds that the arbitrator’s decision to penalize Ms. Denson for availing herself of a judicial

forum was improper and against public policy. Id. ¶ 45; Denson v. Donald J. Trump For

President, Inc., 116 N.Y.S.3d 267 (App. Div. 2020).

       From the time the Campaign initiated its arbitration in December 2017 until the

arbitration award was reversed two years later, Ms. Denson withstood constant financial threat

and pressure to withdraw her claims due to the Campaign’s incessant pursuit and expansion of

the arbitration. Among other things, during Ms. Denson’s appeal of the state court’s decision

affirming the arbitration award, the Campaign aggressively sought to execute the award,




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  Ms. Denson established a GoFundMe account in 2018 in hopes of raising funds to secure legal
representation in her cases against the Campaign. SMF ¶ 28.


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including by serving subpoenas and restraining notices on Ms. Denson, her bank accounts, and

her counsel, even going so far as to restrain her counsels’ escrow accounts, SMF ¶ 50.

D.     Procedural History of This Action

       On February 20, 2019, and pursuant to this Court’s order in the Federal Action granting

the Campaign’s motion to compel arbitration of Ms. Denson’s claim that the Form NDA is

invalid and unenforceable, Ms. Denson submitted a class-action arbitration demand to the

Campaign and simultaneously filed it with the American Arbitration Association. SMF ¶ 46. In

response, the Campaign sought to have Ms. Denson’s arbitration demand submitted to the same

arbitrator assigned to its initial arbitration against her. Id. ¶ 47. When this request was denied, on

May 29, 2019 the Campaign exercised its “sole discretion” under Paragraph 8(b) of the Form

NDA and rejected the arbitration demand, insisting instead that Ms. Denson “file her purported

claims in court.” Id. ¶¶ 48–49.

       After the First Department vacated the arbitration award, Ms. Denson prepared this class

action lawsuit, on behalf of herself and all others bound by the terms of the Form NDA. Once the

New York State courts lifted a moratorium on the filing of new actions prompted by the COVID

pandemic, Ms. Denson filed this lawsuit in New York Supreme Court on June 1, 2020. See ECF

No. 1-1 (State Court complaint).

       On June 19, 2020, the Campaign removed this action to this Court. ECF No. 1. On June

22, 2020, Ms. Denson’s counsel filed a letter informing the Court of the background of the

action, requesting early discovery and notifying the Court of the case’s relation to the earlier

Federal Action. ECF No. 10. On June 25, 2020, the Court denied Plaintiffs’ request for early

discovery and set a Rule 16 conference for July 9, 2020. ECF No. 12. On July 7, the Trump

Campaign filed a pre-motion letter proposing to seek dismissal of this case for lack of federal




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 jurisdiction and collateral estoppel. ECF No. 15. Plaintiffs responded that such a motion would

 be frivolous, time was of the essence, and the legal merits of the challenge to the Form NDA

 could be resolved without discovery. During the July 9 conference, the Court set a schedule for

 the concurrent briefing of this motion and the Campaign’s motion to dismiss. ECF No. 18.

                                       LEGAL STANDARD

        Summary judgment is appropriate where “the movant shows that there is no genuine

 dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

 Civ. P. 56(a); Davis-Garett v. Urban Outfitters, Inc., 921 F.3d 30, 41 (2d Cir. 2019).

                                            ARGUMENT

I.      THE TRUMP CAMPAIGN’S FORM NDA IS VOID AND UNENFORCEABLE
        UNDER NEW YORK CONTRACT LAW

        The Form NDA is unenforceable under New York contract law for four independent

 reasons: it is an unreasonable post-employment restrictive covenant, it lacks the definiteness

 required of an enforceable contract, it is void as against public policy, and it is unconscionable.

        A.      The Form NDA Is An Unreasonable Post-Employment Restrictive Covenant

        The nondisclosure and non-disparagement clauses of the Form NDA operate as classic

 post-employment restrictive covenants. See, e.g., Columbia Ribbon & Carbon Mfg. Co. v. A-1-A

 Corp., 42 N.Y.2d 496, 498–99 (1977) (considering nondisclosure agreement to be a restrictive

 covenant); L.I. City Ventures v. Urban Compass, Inc., No. 18 Civ. 5853 (PGG), 2019 WL

 234030, at *14 (S.D.N.Y. Jan. 16, 2019) (Gardephe, J.) (same). New York law takes a dim view

 of such restrictions, considering them “generally disfavored” and only enforceable “under

 limited circumstances.” Heartland Sec. Corp. v. Gerstenblatt, No. 99 Civ. 3694 (WHP), No. 99

 Civ. 3858 (WHP), 2000 WL 303274, at *5 (S.D.N.Y. Mar. 22, 2000) (citing Bus. Networks of

 N.Y., Inc. v. Complete Network Sols., Inc., 696 N.Y.S.2d 433, 435 (1st Dep’t 1999)). Restrictive



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covenants are valid only if they are “reasonable in time and area, necessary to protect the

employer’s legitimate interests, not harmful to the general public and not unreasonably

burdensome to the employee.” Ashland Mgmt. Inc. v. Altair Invs. NA, LLC, 59 A.D.3d 97, 101–

02 (1st Dep’t 2008) (quoting BDO Seidman v. Hirshberg, 93 N.Y.2d 382, 389 (1999)). “A

violation of any prong renders the covenant invalid.” BDO Seidman, 93 N.Y.2d at 389. The

nondisclosure and non-disparagement provisions in the Form NDA violate each prong.

               1. The nondisclosure and non-disparagement clauses are not reasonable in
                  time.

       Neither the nondisclosure nor the non-disparagement clauses contain any temporal limit.

To the contrary, both purport to bind signatories “[d]uring the term of your service and at all

times thereafter.” Form NDA ¶¶ 1, 2 (emphasis added). This alone renders them unenforceable.

Even “an otherwise valid (restrictive) covenant will not be enforced if it is unreasonable in

time[.]” Am. Broad. Co. v. Wolf, 52 N.Y.2d 394, 403–04 (1981); see also Columbia Ribbon &

Carbon Mfg. Co., 42 N.Y.2d at 499; Gelder Med. Grp. v. Webber, 41 N.Y.2d 680, 683 (1977).

               2. The nondisclosure and non-disparagement clauses are not necessary to
                  protect the Trump Campaign’s legitimate interests.

       The only legitimate employer interests that justify a restrictive covenant are “the

protection against misappropriation of the employer’s trade secrets or of confidential customer

lists, or protection from competition by a former employee whose services are unique or

extraordinary.” Arthur J. Gallagher & Co. v. Marchese, 96 A.D.3d 791, 792 (2d Dep’t 2012);

accord L.I. City Ventures, 2019 WL 234030, at *14 (restrictive covenants enforceable to extent

necessary to prevent “disclosure or use of trade secrets or confidential customer information”)

(citation omitted). The nondisclosure and non-disparagement provisions self-evidently fail to

meet this standard.




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        This Court’s recent decision in L.I. City Ventures illustrates exactly why the Form NDA

is unenforceable. In that case, an employer sought to enforce a nondisclosure provision against a

former employee that purported to prevent the disclosure of any information the employee

gained access to during her employment, “regardless of whether that material constitute[d] a

trade secret or [wa]s otherwise proprietary and confidential.” 2019 WL 234030, at *14. This

Court refused to enforce the provision because it was “overbroad” and “not necessary to protect

[the employer’s] legitimate interests.” Id.

        So too here. The Form NDA’s nondisclosure clause prohibits Trump Campaign

employees from disclosing any “Confidential Information”—defined in a non-exhaustive list to

include “any information” about such staggeringly broad categories as the “personal life,”

“political affairs,” “business affairs,” “alliances,” “affiliations,” “relationships,” and

“conversations” of Mr. Trump and any of his family. Form NDA ¶ 6(a). None of these can

reasonably be considered a “trade secret” or other category of legally protectible “confidential”

business information.2 And even if the definition of “Confidential Information” were not so

impermissibly broad, the nondisclosure clause additionally purports to prohibit disclosure of

anything “Mr. Trump insists remain private or confidential.” Id. ¶¶ 1, 6(a). This open-ended

definition bears no relationship to the few narrow categories of information that New York law

permits employers to protect for limited periods of time through restrictive covenants. The Form

NDA’s reservation of unfettered discretion to Mr. Trump to classify anything as confidential far

exceeds the bounds of anything enforceable under New York law.




2
 To the contrary, the plain language of these categories would cover massive amounts of
publicly available information. As a matter of law, no employer has a legitimate interest in
protecting information “readily ascertainable from outside sources.” IVI Envtl., Inc. v.
McGovern, 269 A.D.2d 497, 498 (2d Dep’t 2000).


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       The non-disparagement clause is equally defective. It purports broadly to ban Trump

Campaign workers from ever “demean[ing] or disparag[ing]” the President, his Campaign, his

companies, and his family members, along with any asset he or his family may own and any

product or service they may offer, now or in the future. This provision, too, is entirely beyond

the limits imposed on restrictive covenants under New York law. Nothing in the language of the

non-disparagement clause bears any relationship to the types of confidential, proprietary

information properly subject to a carefully drawn restriction.3 On its face, the non-disparagement

clause is not limited to any “legitimate interest” of the Campaign, but rather stifles all criticism

about the President of the United States, his family, and his businesses.4

       The “broad-sweeping language” of each provision, “unrestrained by any limitations

keyed to uniqueness, trade secrets, confidentiality or even competitive unfairness,” renders them

unenforceable. Columbia Ribbon, 42 N.Y.2d at 498–99.

               3. The nondisclosure and non-disparagement provisions are harmful to the
                  general public and unreasonably burdensome to Campaign workers.

       New York law also dictates that restrictive covenants are unenforceable if they are

“harmful to the general public” or “unreasonably burdensome” to the employee. L.I. City

Ventures, 2019 WL 234030, at *14. The provisions here are both. As discussed in more detail in

Sections I.C and II.A, infra, the nondisclosure and non-disparagement clauses restrict speech on

matters of highest public importance and subject Campaign workers to potentially crippling


3
  To the extent the non-disparagement clause purports to bar individuals from commenting on the
many products and services peddled by members of the Trump family, it may well run afoul of
federal consumer protection laws as well. See, e.g., 15 U.S.C. § 45b (barring non-disparagement
provisions in form contracts for consumers).
4
  This conclusion is further buttressed by the fact that the nondisclosure clause covers not only
information relating to the Campaign, but to all Trump-related activities, whether or not they
concern the President himself or have anything to do with the Campaign, as opposed to his
private businesses.


                                                  13
financial penalties for exercising basic rights. The provisions both harm the public and

unreasonably burden those subject to them.

       B.      The Nondisclosure and Non-Disparagement Clauses Are Unenforceably
               Vague and Indefinite

       Even if the heightened scrutiny that New York courts apply to restrictive covenants did

not apply, the non-disparagement and nondisclosure clauses remain unenforceable under New

York contract law because they lack the requisite definiteness required of all valid agreements.

New York has long recognized that “definiteness as to material matters is of the very essence in

contract law,” so “[i]mpenetrable vagueness and uncertainty will not do.” Joseph Martin, Jr.,

Delicatessen, Inc. v. Schumacher, 52 N.Y.2d 105, 109 (1981); see also In re Express Indus. &

Terminal Corp. v. N.Y. State Dep’t of Transp., 93 N.Y.2d 584, 589 (1999) (for a contract to be

enforceable, “there must be a manifestation of mutual assent sufficiently definite to assure that

the parties are truly in agreement with respect to all material terms”). If contractual terms “are so

vague and indefinite that there is no basis or standard for deciding whether the agreement ha[s]

been kept or broken, or to fashion a remedy, and no means by which such terms may be made

certain, then there is no enforceable contract.” Candid Prods., Inc. v. Int’l Skating Union, 530 F.

Supp. 1330, 1333–34 (S.D.N.Y. 1982).

       Here, because there is no way for an employee to reasonably understand the meaning or

scope of the nondisclosure and non-disparagement clauses, and by extension to know whether or

not they “had been kept or broken,” these indefinite provisions are unenforceable. As noted

above, the nondisclosure clause purports to prohibit disclosure of “Confidential Information,”

defined to include (but not be limited to) a broad swath of “private, proprietary, or information”

about the President, his companies, and his family, as well as “all information . . . that Mr.

Trump insists remain private or confidential.” Form NDA ¶ 6(a) (emphasis added). To the extent



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the Form NDA suggests what qualifies as “private, proprietary, or confidential” information, it

includes everything from “investments” to “decisions;” “financial statements” to “methods;”

“affiliations” to “conversations;” and more. Id. Terms like these are manifestly too vague and

indefinite to provide the requisite certainty required of an enforceable contract. And stating that

anything can qualify as confidential based on Mr. Trump’s unconstrained “insistence,” removes

any semblance of definiteness. Indeed, contract terms that are changeable on one party’s whim

and without notice are the antithesis of definite.

       The non-disparagement provision is equally flawed because it restricts an undefinable

category of speech pertaining to an unascertainable group of entities, products, and services. It

prohibits a signer to “demean or disparage publicly the Company, Mr. Trump, any Trump

Company, any Family Member, or any Family Member Company or any asset any of the

foregoing own, or product of service any of the foregoing offer.” Form NDA ¶ 2. This vague and

expansive language provides no guidance as to what qualifies as “demeaning” or “disparaging”

of the President, his family, or their businesses. Nor does it explain—or provide any means to

understand—what qualifies as a “product or service” offered by one of the covered individuals or

entities, or provide any means for an employee to know what “assets” may be “owned” by

members of the Trump family.5 Taken at face value, the non-disparagement provision all but

ensures that signers will not have any certainty as to whether any given statement might be

deemed a violation of the Form NDA.



5
 The defined terms cited in the non-disparagement provision only serve to deepen its opacity.
“Trump Compan[ies]” and “Family Member Compan[ies]” are defined as “any entity,
partnership, trust, or organization that, in whole or in part, was created by or for the benefit of
[Mr. Trump/any Family Member] or is controlled or owned by [Mr. Trump/any Family
Member].” Id. at ¶ 6(c). This language, including because of the modifier “in whole or in part,”
provides no meaningful guidance as to what is covered under the non-disparagement provision.


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       C.      The Nondisclosure and Non-Disparagement Provisions Are Void As Against
               Public Policy

       An otherwise valid contract is unenforceable under New York law when “the interest in

its enforcement is clearly outweighed in the circumstances by a public policy against [its]

enforcement.” Restatement (Second) of Contracts § 178 (1981); Filstein v. Bromberg, 944

N.Y.S.2d 692, 698 (Sup. Ct. 2012); see also 159 MP Corp. v. Redbridge Bedford, LLC, 128

N.E.3d 128, 133 (N.Y. 2019) (deeming a contract provision unenforceable “where the public

policy in favor of freedom of contract is overridden by another weighty and countervailing

public policy”). As discussed below, the Form NDA is void for the further reason that it

contravenes public policy, insofar as it (1) violates the United States’ and New York’s

commitment to public debate on matters of public concern; and (2) violates New York’s public

policy against contracts that prevent the reporting of misconduct.

       The First Amendment enshrines a profound societal judgment in favor of open debate

about matters of public concern. See, e.g., N.Y. Times Co. v. Sullivan, 376 U.S. 254, 270 (1964);

see also infra at pp. 20–21. And the New York State Constitution echoes and extends that

judgment—indeed, it would be hard to find a more fundamental and weighty public policy of

this State. As the New York Court of Appeals put it:

               This State, a cultural center for the Nation, has long provided a
               hospitable climate for the free exchange of ideas. That tradition is
               embodied in the free speech guarantee of the New York State
               Constitution, beginning with the ringing declaration that “every
               citizen may freely speak, write and publish * * * sentiments on all
               subjects.” (NY Const, art I, § 8.) Those words, unchanged since the
               adoption of the constitutional provision in 1821, reflect the
               deliberate choice of the New York State Constitutional Convention
               not to follow the language of the First Amendment, ratified 30 years
               earlier, but instead to set forth our basic democratic ideal of liberty
               of the press in strong affirmative terms.




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Immuno AG v. Moor-Jankowski, 77 N.Y.2d 235, 249 (1991). The “protection afforded by the

guarantees of free press and speech in the New York Constitution is often broader than the

minimum required by the Federal Constitution.” Id. (quoting O’Neill v. Oakgrove Const., Inc.,

71 N.Y.2d 521, 528 & n.3 (1988)). Moreover, these constitutional guarantees are not just rights

of the speaker; they protect equally “the right of the public to receive suitable access to social,

political, esthetic, moral, and other ideas and experiences.” Kleindienst v. Mandel, 408 U.S. 753,

763 (1972).

       The Trump Campaign’s nondisclosure and non-disparagement clauses operate in direct

contravention of the fundamental public policy goal of fostering informed debate on matters of

public importance. To be clear, Plaintiffs do not contend that any contract purporting to abrogate

an individual’s free speech rights is void against public policy. But the contractual prohibitions

in this case prohibit a breathtakingly broad amount of speech about the President of the United

States and his businesses and do not even attempt to tie those prohibitions to any legitimate

interest of the contracting entity. In these novel circumstances, the Form NDA’s derogation of

this critical public policy clearly outweighs any interest in enforcement of the agreement.

       Contracts are also void as against public policy where they prevent individuals from

reporting misconduct. See New York v. McQueen, 67 Misc. 3d 1206(A) (N.Y. Sup. Ct. 2020);

Cosby v. Am. Media, Inc., 197 F. Supp. 3d 735, 741 (E.D. Pa. 2016) (collecting authorities); cf.

Branzburg v. Hayes, 408 U.S. 665, 696 (1972) (observing that “agreements to conceal

information relevant to commission of crime have very little to recommend them from the

standpoint of public policy”). The procedural history of the litigation between Ms. Denson and

the Trump Campaign shows that the nondisclosure and non-disparagement provisions have

exactly that effect. The Campaign’s original arbitration demand against Ms. Denson was




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predicated on her alleged violation of the nondisclosure and non-disparagement provisions by

filing a sex discrimination lawsuit—and resulted in a $50,000 award against her.6 SMF ¶¶ 26, 39,

41. Given the Campaign’s readiness to enforce the Form NDAs against employees seeking to

report misconduct, the contract’s lack of any carve-out for employees pursuing statutory

remedies for misconduct, and the potentially grievous financial penalties employees can incur,

the non-disparagement and nondisclosure provisions are patently void as against public policy.

       D.      The Form NDA Is Unconscionable

       Finally, the Form NDA cannot properly be enforced because it is unconscionable on its

face. Under New York law, a contract is unconscionable when it “is so grossly unreasonable or

unconscionable in the light of the mores and business practices of the time and place as to be

unenforcible [sic] according to its literal terms.” Gillman v. Chase Manhattan Bank, N.A., 73

N.Y.2d 1, 10 (1988). To void a contract there must generally be a showing that it is “both

procedurally and substantially unconscionable.” Ragone v. Atl. Video, 595 F.3d 115, 121–22 (2d

Cir. 2010). However, in some cases, “the substantive element alone may be sufficient to render

the terms of the provision at issue unenforceable.” Brower v. Gateway 2000, Inc., 246 A.D. 246,

254 (1st Dep’t 1998).

       The touchstone of procedural unconscionability is the “lack of meaningful choice” for the

party seeking to have the contract invalidated. Gillman, 73 N.Y.2d at 11. The prototypical

example of a contract that is procedurally unconscionable is a non-negotiable, standard-form

contract, offered by an entity to an individual. See, e.g., Xie v. Citibank, N.A., No. 717579/2018,

2019 WL 3531636, at *2 (N.Y. Sup. Ct. June 14, 2019). That is precisely what the Form NDA is,



6
 That award, of course, was ultimately thrown out as contrary to public policy, but only after
years of litigation. Denson v. Donald J. Trump For President, Inc., 180 A.D.3d 446 (1st Dep’t
2020).


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as evidenced by the fact that every copy of the Form NDA Plaintiffs have been able to identify in

public records is identical in all material respects. See SMF ¶ 11. To work for the Trump

Campaign, individuals had to sign the Form NDA—they had no choice.

       Even if there were no procedural unconscionability, this is the rare case where a contract

is unconscionable on substantive grounds alone. “A contract is substantively unconscionable

where its terms are unreasonably favorable to the party against whom unconscionability is

claimed.” Brennan v. Bally Total Fitness, 198 F. Supp. 2d 377, 382 (S.D.N.Y. 2002).

       Here, the Form NDA is rife with provisions that are so prejudicially one-sided and

unreasonably favorable to the Trump Campaign as to render it unconscionable. First and

foremost are the nondisclosure and non-disparagement clauses, which purport to strip signers of

their constitutional rights to criticize the President forever—limitations which are “grossly

unreasonable or unconscionable in the light of the mores” of the time and place. Gillman, 73

N.Y.2d at 10. To take another obvious example, the Form NDA allows President Trump

unilaterally to modify the definition of “Confidential Information” with no advance notice or

explanation to the employee. This independently renders the Form NDA unconscionable. See,

e.g., Berkson v. Gogo LLC, 97 F. Supp. 3d 359, 392 (E.D.N.Y. 2015) (quoting Bragg v. Linden

Research, Inc., 487 F. Supp. 2d 593, 611 (E.D. Pa. 2007), for the proposition that a unilateral

modification clause renders a contract so “severely one-sided in the substantive dimension” that

“even moderate procedural unconscionability” renders it unenforceable).

       The Form NDA contains many other one-sided provisions. These include: (1) giving the

Campaign unilateral discretion over whether to arbitrate claims under the Form NDA;

(2) requiring the employee to consent to entry of an ex parte injunction barring breach of the

contract (i.e., a prior restraint on speech); (3) entitling the Campaign and any “Trump Person” to




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      enforce the contract and recover damages for its breach; and (4) shifting to the employee all costs

      incurred for any disputes. Form NDA ¶¶ 7(a), 7(d), 8(b)–(c). Taken together or standing alone,

      these provisions and more like them render the Form NDA unconscionable. See, e.g., Hanover

      Ins. Co. v. Losquadro, 600 N.Y.S.2d 419, 423 (Sup. Ct. 1993) (non-mutuality of contractual

      provisions supports finding of unconscionability); Brower, 676 N.Y.S.2d at 573–74

      (unreasonable imposition of costs renders contract substantively unconscionable).

II.          THE FORM NDA VIOLATES BOTH THE FIRST AMENDMENT AND THE
             NEW YORK STATE CONSTITUTION

             The Form NDA violates the First Amendment’s and Article I, § 8 of the New York State

  Constitution’s protections of the freedom of speech and of the press.7

             A.      The Form NDA Prohibits Political Speech Entitled to the Fullest and Most
                     Urgent Constitutional Protection

             The Form NDA censors core, constitutionally-protected political speech by prohibiting

      criticism of the President of the United States. The constitutional protections of speech and the

      press reflect our “profound national commitment to the principle that debate on public issues

      should be uninhibited, robust, and wide-open, and that it may well include vehement, caustic,

      and sometimes unpleasantly sharp attacks on government and public officials.” N.Y. Times Co. v.

      Sullivan, 376 U.S. 254, 270 (1964). We protect political speech “because ‘speech concerning

      public affairs is more than self-expression; it is the essence of self-government.’” Snyder v.

      Phelps, 562 U.S. 443, 452 (2011) (quoting Garrison v Louisiana, 379 U.S. 64, 74–75 (1964));

      see also Citizens United v. Fed. Election Comm’n, 558 U.S. 310, 339 (2010) (the right “to

      inquire, to hear, to speak, and to use information to reach consensus is a precondition to


      7
       This section focuses on the First Amendment, but, as noted above, the “protection afforded by
      the guarantees of free press and speech in the New York Constitution is often broader than the
      minimum required by the Federal Constitution.” Immuno AG v. Moor-Jankowski, 77 N.Y.2d
      235, 249 (1991).


                                                      20
enlightened self-government”); Mills v. Alabama, 384 U.S. 214, 218–19 (1966) (a major purpose

of the First Amendment is “to protect the free discussion of governmental affairs”).

       The constitutional protections of speech and the press are at their zenith with respect to

speech about public officials and candidates for office. “[S]peech on public issues” is generally

“entitled to special protection,” Snyder, 562 U.S. at 452 (quoting Connick v. Myers, 461 U.S.

138, 145 (1983)), and the First Amendment “‘has its fullest and most urgent application’ to

speech uttered during a campaign for political office.” Citizens United, 558 U.S. at 339 (quoting

Eu v. S.F. Cnty. Democratic Cent. Comm., 489 U.S. 214, 223 (1989)); see also Buckley v. Valeo,

424 U.S. 1, 14 (1976).

       Here, the non-disparagement clause acts as a blanket prohibition on speech critical of a

public official—speech that lies at the beating heart of the First Amendment. N.Y. Times Co., 376

U.S. at 270; see Form NDA ¶ 2. The nondisclosure clause also censors core protected speech, as

it prohibits Campaign employees from disclosing any information that President Trump “insists

remain private” and “any information with respect to the . . . political affairs . . . of Mr. Trump.”

Form NDA ¶¶ 1, 6(a).

       B.      The First Amendment’s Protections for Political Speech Apply Fully to the
               Form NDA

       Notwithstanding that the Form NDA is ostensibly a contract between private actors, the

First Amendment’s protections for political speech apply to it with full force for three reasons.

       First, the Form NDA’s restrictions on core protected speech are enforced by the exercise

of judicial power. As the Court explained in its landmark decision in New York Times Co., the

test for whether there is sufficient state action to trigger the First Amendment’s protections “is

not the form in which state power has been applied but, whatever the form, whether such power

has in fact been exercised.” 376 U.S. at 265. Where, as here, limitations on core protected speech



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are effectuated by the exercise of judicial power, the Supreme Court has not hesitated to find

state action and interpose First Amendment protections in ostensibly private legal disputes. See,

e.g., Snyder, 562 U.S. 443; Hustler Mag., Inc. v. Falwell, 485 U.S. 46 (1988); Phila.

Newspapers, Inc. v. Hepps, 475 U.S. 767, 777 (1986); N.Y. Times Co., 376 U.S. at 279–80, 284.

Even outside the context of core political speech, the Second Circuit has held that the

enforcement of a “private contract” that operates to enjoin protected speech “implicates free

speech concerns” and triggers First Amendment protection. Ronnie Van Zant, Inc. v. Cleopatra

Records, Inc., 906 F.3d 253, 257 (2d Cir. 2018).8, 9

       Second, the Form NDA is enforced by the President’s political campaign with his overt

encouragement and for his political benefit. The Supreme Court has “treated a nominally private

entity as a state actor when it is controlled by an agency of the State,” “when government is

entwined in its management or control,” “when the State provides significant encouragement,

either overt or covert,” or “when a private actor operates as a willful participant in joint activity



8
  To hold that there is no state action here would permit candidates and public officials to end-
run the protections for core political speech established in New York Times Co. Consider the
Form NDA. It permits an arbitrator to impose significant financial penalties on any signer who
criticizes the current President who is running for reelection, without regard to whether the
signer’s statement is an opinion, a true statement of fact, or a defamatory remark made with
actual malice. See Form NDA ¶¶ 1–2, 7–8; SMF ¶¶ 39, 41. Unlike cases in which a plaintiff
seeks to use a contract or generally applicable state-law doctrine to obtain damages unrelated to
their reputation, the Form NDA allows the Campaign—and the President, see infra—to recover
damages for the mere utterance of protected speech. Cf. Cohen v. Cowles Media Co., 501 U.S.
663, 664 (1991) (generally applicable promissory estoppel doctrine does not violate the First
Amendment where a plaintiff does not seek to evade the constitutional standard for libel or
defamation); Ronnie Van Zant, Inc., 906 F.3d at 257 (suggesting that the First Amendment
would apply to a private contract involving defamation-like claims by public officials).
9
  Cohen v. Cowles Media Co., 501 U.S. 663 (1991), does not hold to the contrary. In Cohen, the
Supreme Court held that a state court’s enforcement of a litigant’s quasi-contractual promissory
estoppel claim in a manner alleged to restrict First Amendment rights did constitute state action;
it did not hold that a state court’s enforcement of a contract under state law in a manner alleged
to violate the First Amendment does not amount to state action. Cohen, 501 U.S. at 668.


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with the State or its agents.” Brentwood Acad. v. Tenn. Secondary Sch. Athletic Ass’n, 531 U.S.

288, 296 (2001) (internal quotation marks and alterations omitted). Each of those factors are

present here. The Trump Campaign is controlled by the President of the United States, who is

entwined in its management. See, e.g., Andrew Restuccia & Rebecca Ballhaus, Trump Replaces

Campaign Manager, Wall St. J. (July 15, 2020), https://www.wsj.com/articles/trump-replaces-

campaign-manager-11594861502. And the President offers overt and significant encouragement

to the Campaign to enforce the Form NDA, see SMF ¶¶ 17, 21, which it willingly does. Indeed,

taking the President at his own word, he has stated “I am currently suing various people for

violating their confidentiality agreements.” SMF ¶ 17 (emphasis added).

       Third, the Form NDA explicitly grants the President the right to enforce the contract

himself. The Form NDA’s third-party beneficiary clause designates President Trump as a “third

party beneficiary” of the agreement and provides that “Mr. Trump . . . will be entitled to the

benefit of this agreement and to enforce this agreement.” Form NDA ¶ 7(d). Together with the

open-ended non-disparagement and nondisclosure clauses, the Form NDA (1) prevents signers

from ever criticizing the President or disclosing information he unilaterally deems private,

(2) gives the President the unilateral right to determine whether a signer violates the agreement,

and (3) empowers the President to sue individuals for violating the agreement. That sort of

“government-defined,” “government-enforced restriction on government-critical speech” plainly

triggers First Amendment protection. Overbey v. Mayor of Baltimore, 930 F.3d 215, 224 (4th

Cir. 2019); see generally Daniel J. Solove & Neil M. Richards, Rethinking Free Speech and Civil

Liability, 109 Colum. L. Rev. 1650, 1668 (2009) (“[T]he state can censor just as effectively

through legal forms that are private as it can through ones that are public.”).




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       In sum, First Amendment protections for political speech apply fully to the Form NDA, a

contract that purports to limit core political speech about the President of the United States, is

effectuated by judicial decree, is enforced by the Campaign at the President’s encouragement for

his benefit, and which the President himself retains the right to enforce directly.

       C.      The Form NDA’s Purported Waiver of Free Speech Rights Is Unenforceable

       At their core, the Form NDA provisions at issue in this lawsuit purport to be a waiver of

the employee’s First Amendment rights. As such, and because the rights at issue implicate core

political speech, that waiver must meet an exacting standard in order to be enforceable under the

First Amendment and the New York State Constitution. As a matter of law, such a waiver is only

enforceable if (1) “it was made knowingly and voluntarily” and (2) “the interest in enforcing the

waiver is not outweighed by a relevant public policy that would be harmed by enforcement.”

Overbey, 930 F.3d at 223. Here, neither condition is met.

       First, the waiver was not knowing and voluntary. The Supreme Court has held that courts

must “indulge every reasonable presumption against waiver of fundamental constitutional rights”

and must “not presume acquiescence in the loss of fundamental rights.” Johnson v. Zerbst, 304

U.S. 458, 464 (1938). At a minimum, “a waiver of constitutional rights in any context must, at

the very least, be clear.” Fuentes v. Shevin, 407 U.S. 67, 95 (1972); see also Morris v. N.Y.C.

Emps.’ Ret. Sys., 129 F. Supp. 2d 599, 608–09 (S.D.N.Y. 2001). Here, the Form NDA says

nothing of the Constitution or the First Amendment, and it is far too broad, too vague, and too

indefinite to constitute a knowing and voluntary waiver. See supra at pp. 14–15. Moreover, the

Form NDA is unconscionable, see supra at pp. 18–20, and therefore does not satisfy the

constitutional standard of “voluntary,” see Fuentes, 407 U.S. at 95.

       Second, any interest in enforcing the Form NDA’s waiver is outweighed by the harm to

public debate about the President of the United States and a candidate for office. Our profound


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national commitment to public debate on public issues weighs strongly against enforcing a

waiver of speech rights about public officials, Overbey, 930 F.3d at 223–24 (citing New York

Times Co., 376 U.S. at 270). So does the First Amendment’s prohibition on allowing government

officials to regulate speech. Id. On the other side of the scale, there is no policy interest sufficient

to outweigh the harm to speech imposed by the Form NDA. While there are legitimate policy

reasons for enforcing contracts generally, and even reasonable nondisclosure and non-

disparagement agreements, the Form NDA is beyond the pale, given (1) the importance of the

core political speech that the Form NDA seeks to restrict, and (2) the indefensibly broad scope of

speech the Form NDA covers. On its face, the Form NDA is a mechanism for muzzling and

punishing political dissent. No generalized interest in the enforcement of contracts can justify

enforcing such terms.10

                                           CONCLUSION

        For the reasons above, Plaintiffs respectfully request that the Court grant their motion for

summary judgment, declare the Form NDA void and unenforceable in its entirety, and enter an

injunction preventing the Campaign and any other individual and entity entitled to enforce the

contract from enforcing, attempting to enforce, and/or threatening to enforce the Form NDA.



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   All apart from the Form NDA’s failure to meet the requisite standard for waiver of First
Amendment rights, it is likely impermissible for political candidates to legally require campaign
workers to forever waive their right to engage in protected speech as a condition of employment.
While, to Plaintiffs’ knowledge, the issue has not been adjudicated in the context of a campaign
for public office, the Supreme Court has held that public officials cannot condition public
employment on an individual waiving their First Amendment rights in their capacities as private
citizens, citing its “responsibility is to ensure that citizens are not deprived of fundamental rights
by virtue of working for the government.” Garcetti v. Ceballos, 547 U.S. 410, 419 (2006)
(quoting Connick v. Myers, 461 U.S. 138, 147 (1983)). To permit political campaigns to silence
speech through contracts like the Form NDA—and particularly to use non-disparagement clauses
like the one in the Form NDA—would directly undermine that precedent, allowing future public
officials to gag future public employees and a wide swath of former workers in ways the
candidate could never do once in office.


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Dated: July 30, 2020                     Respectfully Submitted,


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